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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:10CR164
                     Plaintiff,                   )
                                                  )
      vs.                                         )             ORDER
                                                  )
MIGUEL A. CASTANEDA,                              )
                                                  )
                     Defendant.                   )


      This matter is before the Court on the motion of defendant Miguel A. Castaneda
(Castaneda) to enlarge time (Filing No. 34). The motion does not comply with NECrimR
12.3 (a) and paragraph 9 of the Progression Order (Filing No. 9) in that the motion is not
accompanied by the defendant’s affidavit or declaration stating that defendant:
      (1)    Has been advised by counsel of the reasons for seeking an extension;
      (2)    Understands that the time sought by the extension may be excluded from any
             calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
      (3)    With this understanding and knowledge, agrees to the filing of the motion.

      Accordingly, the motion (Filing No. 34) is :
             ( X ) Held in abeyance pending compliance with NECrimR 12.3(a) and
                     Paragraph 9 of the Progression Order. Absent compliance on or
                     before June 17, 2010, the motion will be deemed withdrawn and
                     termed on the docket.
             (   )   Denied.


      IT IS SO ORDERED.


      DATED this 11th day of June, 2010.
                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
